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AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT, 00) sos,
for the _— _ WLU COQue
Southern District of Ohio iy APR

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In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No. ie Mt
8:18m200"g

APPLICATION FOR A SEARCH WARRANT

524 South Walnut Street, Troy, Ohio, 45373
(including all outbuildings, curtilage, and vehicles parked
on the premises)

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the

Pigper oe sear ee ae give its location):

located in the Southern District of Ohio , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B-4

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Wf evidence of a crime;

contraband, fruits of crime, or other items illegally possessed:
property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:

Code Section Offense Description
See Attachment C-4

The application is based on these facts:
See Attached Affidavit

a Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attachectsheet.

Chnren Elona

Applicant signature

 

Andrea R. Kinzig, Special Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: 4-12-18 (iA Go

Judge 's signature

City and state: Dayton, Ohio Walter H. Rice, U.S. District Court Judge

Printed name and title

 
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ATTACHMENT A-4
DESCRIPTION OF LOCATION TO BE SEARCHED

524 SOUTH WALNUT STREET, TROY, OHIO, 45373 (“SUBJECT PREMISES-2”) is
a single family, two story residence with white siding and a wooden front deck. The street
address numbers are black in color and affixed to the residence next to the front door. The
SUBJECT PREMISES-2 is located on the west side of South Walnut Street between East
Simpson Street and Raper Street. The SUBJECT PREMISES-2 includes all outbuildings,
curtilage, and vehicles parked on the SUBJECT PREMISES-2.

 
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ATTACHMENT B-4
LIST OF ITEMS TO BE SEIZED AND SEARCHED

Items evidencing violations of 18 U.S.C. §§ 2252(a)(2)(B) and (b)(1) and 2252. A(a)(2)
and (b)(1) (receipt, distribution, attempted receipt, and attempted distribution of child
pornography) and 2252(a)(4)(B) and (b)(1) and 2252A(a)(5)(B) and (b)(1) (possession and
attempted of child pornography), including but not limited to the following:

Computers and Electronic Media

1. The authorization includes the seizure and search of electronic data to include deleted
data, remnant data and slack space. The seizure and search of computers and computer
media will be conducted in accordance with the affidavit submitted in support of this
warrant.

2. Computer hardware, meaning any and all computer equipment, including any electronic
devices that are capable of collecting, analyzing, creating, displaying, converting, storing,
concealing, or transmitting electronic, magnetic, optical, or similar computer impulses or
data. Included within the definition of computer hardware is any data processing
hardware (such as central processing units and self-contained laptop or notebook
computers); internal and peripheral storage devices (such as fixed disks, external hard
disks, floppy disk drives and diskettes, tape drives and tapes, optical and compact disk
storage devices, and other memory storage devices): peripheral input/output devices
(such as keyboards, printers, scanners, plotters, video display monitors, and optical
readers); related communications devices (such as modems, cables and connections,
recording equipment, RAM and ROM units, acoustic couplers, automatic dialers, speed
dialers, programmable telephone dialing or signaling devices, and electronic tone
generating devices); any devices, mechanisms, or parts that can be used to restrict access
to such hardware (such as physical keys and locks); cellular telephones and tablets: and
digital cameras and recording devices.

3. Computer software, meaning any and all data, information, instructions, programs, or
program codes, stored in the form of electronic, magnetic, optical, or other media, which
is capable of being interpreted by a computer or its related components. Computer
software may also include data, data fragments, or control characters integral to the
operation of computer software, such as operating systems software, applications
software, utility programs, compilers, interpreters, communications software, and other
programming used or intended to be used to communicate with computer components.

4, Computer-related documentation, meaning any written, recorded, printed, or
electronically stored material that explains or illustrates the configuration or use of any
seized computer hardware, software, or related items.
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Computer passwords and data security devices, meaning any devices, programs, or data -
- whether themselves in the nature of hardware or software -- that can be used or are
designed to be used to restrict access to, or to facilitate concealment of, any computer
hardware, computer software, computer-related documentation, or electronic data
records. Such items include, but are not limited to, data security hardware (such as
encryption devices, chips, and circuit boards); passwords; data security software or
information (such as test keys and encryption codes); and similar information that is
required to access computer programs or data or to otherwise render programs or data
into usable form.

Any computer or electronic records, documents, and materials referencing or relating to
the above-described offenses. Such records, documents, or materials, as well as their
drafts or modifications, may have been created or stored in various formats, including,
but not limited to, any hand-made form (such as writing or marking with any implement
on any surface, directly or indirectly); any photographic form (such as microfilm,
microfiche, prints, slides, negative, video tapes, motion pictures, or photocopies); any
mechanical form (such as photographic records, printing, or typing); any electrical,
electronic, or magnetic form (such as tape recordings, cassettes, compact disks); or any
information on any electronic or magnetic storage device (such as floppy diskettes, hard
disks, CD-ROMs, optical disks, printer buffers, sort cards, memory calculators, electronic
dialers, or electronic notebooks), as well as printouts or readouts from any magnetic
storage device.

Any electronic information or data, stored in any form, which has been used or prepared
for use either for periodic or random backup (whether deliberate, inadvertent, or
automatically or manually initiated), of any computer or computer system. The form that
such information might take includes, but is not limited to, floppy diskettes, fixed hard
disks, removable hard disk cartridges, tapes, laser disks, CD-ROM disks, video cassettes,
and other media capable of storing magnetic or optical coding.

Any electronic storage device capable of collecting, storing, maintaining, retrieving,
concealing, transmitting, and using electronic data used to conduct computer or Internet-
based communications, or which contains material or data obtained through computer or
Internet-based communications, including data in the form of electronic records,
documents, and materials, including those used to facilitate interstate communications,
including but not limited to telephone (including mobile telephone), tablets, and Internet
Service Providers. Included within this paragraph is any information stored in the form
of electronic, magnetic, optical, or other coding on computer media or on media capable
of being read by a computer or computer- related equipment, such as fixed disks, external
hard disks, removable hard disk cartridges, floppy disk drives and diskettes, tape drives
and tapes, optical storage devices, laser disks, or other memory storage devices.
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Computer and Internet Records and Physical Records

Any records related to the possession, attempted possession, receipt, attempted receipt,
distribution, and attempted distribution of child pornography.

Any images or videos of child pornography.

Any and all child erotica, including images and videos of children that are not sexually
explicit, drawings, sketches, fantasy writings, diaries, and sexual aids.

Any Internet history indicative of searching for child pornography.

Any Internet or cellular telephone communications (including email, social media, online
chat programs, etc.) with others in which child exploitation materials and offenses are
discussed and/or traded.

Any Internet or cellular telephone communications (including email, social media, etc.)
with minors.

Any and all address books, names, and lists of names and addresses of minors visually
depicted while engaged in sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256(2).

Evidence of utilization of the account name rabbithole45373.
Evidence of utilization of the Kik messenger application.

Evidence of utilization of email accounts, social media accounts, online chat programs,
and peer-to-peer file sharing programs.

Records of personal and business activities relating to the operation and ownership of the
computer systems, such as telephone records, notes (however and wherever written,
stored, or maintained), books, diaries, and reference materials.

Records of address or identifying information for individuals using computers located at
the SUBJECT PREMISES-2 and any personal or business contacts or associates of his,
(however and wherever written, stored, or maintained), including contact lists, buddy
lists, email lists, ICQ addresses, IRC names (a.k.a., “Nics”), user IDs, eIDs (electronic ID
numbers), and passwords.

Any books, ledgers, and records bearing on the production, reproduction, receipt,
shipment, orders, requests, trades, purchases, or transactions of any kind involving the
transmission through interstate or foreign commerce including by United States mail or
by computer of any visual depiction of minors engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256(2).
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Any and all diaries, notebooks, notes, and any other records reflecting personal contact
and any other activities with minors visually depicted while engaged in sexually explicit
conduct, as defined in Title 18, United States Code, Section 2256(2).

Lists of computer and Internet accounts, including user names and passwords.

Any information related to the use of aliases.

Documents and records regarding the ownership and/or possession of the items seized
from the SUBJECT PREMISES-2.

Any records, documents, and billing records pertaining to accounts held with telephone,
electronic, and Internet service providers.

Any GPS, mapping, and location information.
Photographs of Search
During the course of the search, photographs of the SUBJECT PREMISES-2 may also be

taken to record the condition thereof and/or the location of items seized from the
residence.
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ATTACHMENT C-4

Code Section Offense Description

18 U.S.C. §2252(a)(4)(B) & (b)(1) Possession or Attempted Possession of Child
Pornography

18 U.S.C. §2252A(a)(5)(B) & (b)(1) Possession or Attempted Possession of Child
Pornography

18 U.S.C. §2252(a)(2)(B) & (b)(1) Receipt, Attempted Receipt, Distribution, and

Attempted Distribution of Child Pornography
18 U.S.C. §2252A(a)(2) & (b)(1) Receipt, Attempted Receipt, Distribution, and

Attempted Distribution of Child Pornography
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AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS
I, Andrea R. Kinzig, being duly sworn, depose and state the following:
INTRODUCTION

[am a Special Agent (SA) with the Federal Bureau of Investi gation (FBI), and have been
so employed since 2005. I am currently assigned to the Dayton, Ohio Resident Agency
of the Cincinnati Field Office. In connection with my official duties, I investigate
violations of federal criminal laws, including offenses pertaining to the illegal production,
distribution, receipt, and possession of child pornography (in violation of 18 U.S.C. §§
2252(a) and 2252A) and coercion and enticement (in violation of 18 U.S.C. §2422). I
have received training in the area of child pornography and child exploitation and have
had the opportunity to observe and review numerous examples of child pornography (as
defined in 18 U.S.C. § 2256) in various forms of media, including computer media.

Along with other agents and investigators of the Commonwealth of Kentucky Office of
the Attorney General, Ohio Bureau of Criminal Investigation, and FBI, [am currently
involved in an investigation of child pornography and child exploitation offenses
committed by an individual utilizing the user name of “rabbithole45373” on a

smartphone instant messenger application — namely, the Kik messenger application. This
Affidavit is submitted in support of Applications for search warrants for the following:

a. The residential property located at 3816 East Third Street, Apartment B, Dayton,
Ohio, 45403 (hereinafter referred to as “SUBJECT PREMISES-1” and more
fully described in Attachment A-1 hereto);

b. The person of CARL LOWE, date of birth May 14, 1975 (hereinafter referred to
as “LOWE” and more fully described in Attachment A-2 hereto);

G. Cellular telephone bearing telephone number 937-540-5671 and IMSI
890126033 1926604112F (hereinafter referred to as “SUBJECT DEVICE” and
more fully described in Attachment B-3 hereto); and

d. The residential property located at 524 South Walnut Street, Troy, Ohio, 45373
(hereinafter referred to as “SUBJECT PREMISES-2” and more fully described
in Attachment A-4 hereto).

The purpose of the Applications is to seize evidence of violations of 18 U.S.C. $§
2252(a)(4)(B) and (b)(1) and 2252A(a)(5)(B) and (b)(1), which make it a crime to
possess or attempt to possess child pornography and access with the intent to view child
pornography; and violations of 18 U.S.C. §§ 2252(a)(2)(B) and (b)(1) and 2252A(a)(2)
and (b)(1), which make it a crime to receive and distribute child pornography through
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interstate commerce or attempt to do so. The items to be searched for and seized are
described more particularly in Attachments B-1 through B-4 hereto.

As part of the investigation, I have reviewed documentation and reports provided by and
discussed information with other agents and investigators involved in the investigation.
For purposes of this Affidavit, I have not distinguished between information of which I
have direct knowledge and that of which I have hearsay knowledge.

This Affidavit does not contain every fact known to the investigation, but only those
deemed necessary to demonstrate sufficient probable cause to support the searches of the
SUBJECT PREMISES-1, LOWE’s person, the SUBJECT DEVICE, and SUBJECT
PREMISES-2.

As a result of the instant investigation described more fully below, there is probable
cause to believe that evidence, fruits, and instrumentalities of violations of federal law,
including 18 U.S.C. §§2252(a)(4)(B) and (b)(1), 2252A(a)(5)(B) and (b)(1),
2252(a)(2)(B) and (b)(1), and 2252 A(a)(2) and (b)(1), are present at the SUBJECT
PREMISES-1, on the person of LOWE, at the SUBJECT PREMISES-2, on the
SUBJECT DEVICE, and on the computers located at the SUBJECT PREMISES-1 and
SUBJECT PREMSISES-2 and on the person of LOWE.

PERTINENT FEDERAL CRIMINAL STATUTES

18 U.S.C, § 2252(a)(2)(B) and (b)(1) states that it is a violation for any person to
knowingly receive or distribute any visual depiction using any means or facility of
interstate or foreign commerce or that has been mailed, shipped, or transported in or
affecting interstate or foreign commerce or which contains materials which have been
mailed or so shipped or transported by any means, including by computer, or to
knowingly reproduce any visual depiction for distribution using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign commerce or
through the mails if the producing of such visual depiction involves the use of a minor
engaging in sexually explicit conduct and such visual depiction is of such conduct, or
attempt to do so.

18 U.S.C. § 2252A(a)(2) and (b)(1) states that it is a violation for any person to receive or
distribute — (A) any child pornography that has been mailed, or using any means or
facility of interstate or foreign commerce shipped or transported in or affecting interstate
or foreign commerce by any means, including by computer; and (B) any material that
contains child pornography that has been mailed, or using any means or facility of
interstate or foreign commerce shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer, or attempt to do so.
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18 U.S.C. § 2252(a)(4)(B) and (b)(1) states that it is a violation for any person to
knowingly possess, or knowingly access with the intent to view, one or more matters
which contain any visual depiction that has been mailed, or has been shipped or
transported using any means or facility of interstate or foreign commerce or in or
affecting interstate or foreign commerce, or which was produced using materials which
have been mailed or so shipped or transported, by any means including by computer if
the producing of such visual depiction involves the use of a minor engaging in sexually
explicit conduct and such visual depiction is of such conduct, or attempt to do so.

18 U.S.C. § 2252A(a)(5)(B) and (b)(1) states that it is a violation for any person to
knowingly possess, or knowingly access with intent to view, any book, magazine,
periodical, film, videotape, computer, disk, or any other material that contains an image
of child pornography that has been mailed, or shipped or transported using any means or
facility of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer, that was produced using materials that
have been mailed, or shipped or transported in or affecting interstate or foreign commerce
by any means, including by computer, or attempt to do so.

For purposes of these statutes, the term “sexually explicit conduct” is defined in 18
U.S.C. § 2256(2) as:

a. “Actual or simulated —
i. Sexual intercourse, including genital-genital, oral-genital, anal-genital, or
oral-anal, whether between persons of the same or opposite sex;
il. Bestiality;
lil. Masturbation;
lv. Sadistic or masochistic abuse; or
Ws Lascivious exhibition of genitals or pubic area of any person.”

BACKGROUND INFORMATION
Definitions

The following definitions apply to this Affidavit and Attachments B-1 through B-4 to this
Affidavit:

a. “Child Pornography” includes the definition in Title 18 U.S.C. § 2256(8) (any
visual depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct, (b) the
visual depiction is a digital image, computer image, or computer-generated image
that is, or is indistinguishable from, that of a minor engaged in sexually explicit
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conduct, or (c) the visual depiction has been created, adapted, or modified to
appear that an identifiable minor is engaged in sexually explicit conduct).

b. “Visual depictions” include undeveloped film and videotape, and data stored on
computer disk or by electronic means, which is capable of conversion into a
visual image (see 18 U.S.C. § 2256(5)).

os “Minor” means any person under the age of eighteen years (see 18 U.S.C. §
2256(1)).
d. “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,

including genital-genital, oral-genital, or oral-anal, whether between persons of
the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any
person (see 18 U.S.C. § 2256(2)).

& “Internet Service Providers” or “ISPs” are commercial organizations which
provide individuals and businesses access to the Internet. ISPs provide a range of
functions for their customers, including access to the Internet, web hosting, e-
mail, remote storage, and co-location of computers and other communications
equipment. ISPs can offer various means by which to access the Internet
including telephone based dial-up, broadband based access via a digital subscriber
line (DSL) or cable television, dedicated circuits, or satellite based subscription.
ISPs typically charge a fee based upon the type of connection and volume of data,
called bandwidth that the connection supports. Many ISPs assign each subscriber
an account name such as a user name or screen name, an e-mail address, and an e-
mail mailbox, and the subscriber typically creates a password for the account. By
using a computer equipped with a telephone or cable modem, the subscriber can
establish communication with an ISP over a telephone line or through a cable
system, and can access the Internet by using his or her account name and
password,

f. An “Internet Protocol address”, also referred to as an “IP address”, is a unique
numeric address that computers or electronic devices use in order to communicate
with each other on a computer network utilizing the Internet Protocol (IP)
standard. Every computer or device connected to the Internet is referenced bya
unique IP address. An IP address can be thought of as the equivalent to a street
address or a phone number, just as each street address and phone number uniquely
identifies a building or telephone. IP addresses are composed of four sets of
digits known as “octets,” ranging in value from 0-255, separated by decimal
points. An example of an IP address is 192.168.10.102. There are two types of
IP addresses; static and dynamic. A static address is permanently assigned to a
particular device and as a practical matter never changes. A dynamic address
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provided by an Internet service provider to a client computer is valid only for the
duration of the session that the client computer is connected to the Internet (or
other network).

g. A network “server,” also referred to as a “host,” is a computer system that has
been designated to run a specific server application or applications and provide
requested services to a “client” computer. A server can be configured to provide
a wide variety of services over a network, including functioning as a web server,
mail server, database server, backup server, print server, FTP (File Transfer
Protocol) server, DNS (Domain Name System) server, to name just a few.

h. A “client” is the counterpart of a server or host. A client is a computer system
that accesses a remote service on another computer by some kind of network.
Web browsers (like Internet Explorer or Safari) are clients that connect to web
servers and retrieve web pages for display. E-mail clients (like Microsoft Outlook
or Eudora) retrieve their e-mail from their Internet service provider's mail storage
servers.

1. “Domain Name” refers to the common, easy to remember names associated with
an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP
address of 149.101.1.32. Domain names are typically strings of alphanumeric
characters, with each level delimited by a period. Each level, read backwards —
from right to left — further identifies parts of an organization. Examples of first
level, or top level domains are typically “.com” for commercial organizations,
“gov” for the governmental organizations, “.org’”’ for organizations, and, “‘.edu”
for educational organizations. Second level names will further identify the
organization, for example “usdoj.gov” further identifies the United States
governmental agency to be the Department of Justice. Additional levels may
exist as needed until each machine is uniquely identifiable. For example,
www.usdoj.gov identifies the World Wide Web server located at the United
States Department of Justice, which is part of the United States government. The
Domain Name System, also referred to DNS, is a system of servers connected to
each other using a common system of databases that resolve a particular domain
name, such as “www.usdoj.gov,” to its currently assigned IP address (7.e.,
149.101.1.32), to enable the follow of traffic across the Internet.

if “Log Files” are records automatically produced by computer programs to
document electronic events that occur on computers. Computer programs can
record a wide range of events including remote access, file transfers, logon/logoff
times, and system errors. Logs are often named based on the types of information
they contain. For example, web logs contain specific information about when a
website was accessed by remote computers; access logs list specific information
about when a computer was accessed from a remote location; and file transfer
logs list detailed information concerning files that are remotely transferred.

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k. “Hyperlink” (often referred to simply as a “link’’) refers to a navi gation element
in a web page or document that automatically brings the referred information
(a.k.a. “resource”) to the user when the navigation element is selected by the user.
Hyperlinks are part of the foundation of the World Wide Web, but are not limited
to a website for HTML.

1. “Website” consists of textual pages of information and associated graphic
images. The textual information is stored in a specific format known as Hyper-
Text Mark-up Language (HTML) and is transmitted from web servers to various
web clients via Hyper-Text Transport Protocol (HTTP).

m. “Uniform Resource Locator” or “Universal Resource Locator” or “URL” is
the unique address for a file that is accessible on the Internet, For example, a
common way to get to a website is to enter the URL of the website’s home page
file in the Web browser’s address line. Additionally, any file within that website
can be specified with a URL. The URL contains the name of the protocol to be
used to access the file resource, a domain name that identifies a specific computer
on the Internet, and a pathname, a hierarchical description that specifies the
location of a file in that computer.

n. A “Smartphone” is a mobile cellular telephone that performs many of the
functions of a computer, typically having a touchscreen interface, Internet access,
and an operating system capable of running downloaded applications.

0. Wi-Fi is a technology that allows electronic devices to connect to a wireless LAN
network. Devices that use Wi-Fi technology include personal computers, video
game consoles, smartphones, digital cameras, tablets, and modern computers.

p- The terms “records,” “documents,” and “materials,” as used herein, include all
information recorded in any form, visual or aural, and by any means, whether in
handmade form (including, but not limited to, writings, drawings, painting),
photographic form (including, but not limited to, microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, photocopies), mechanical form
(including, but not limited to, phonograph records, printing, typing) or electrical,
electronic or magnetic form (including, but not limited to, tape recordings,
cassettes, compact discs, electronic or magnetic storage devices such as floppy
diskettes, hard disks, CD-ROMs, digital video disks (DVDs), Personal Digital
Assistants (PDAs), Multi Media Cards (MMCs), memory sticks, optical disks,
printer buffers, smart cards, memory calculators, electronic dialers, or electronic
notebooks, as well as digital data files and printouts or readouts from any
magnetic, electrical or electronic storage device).
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Characteristics of Collectors of Child Pornography

Based upon my knowledge, training, and experience in child pornography investigations,
and the training and experience of other law enforcement officers with whom I have had
discussions, there are certain characteristics common to individuals involved in the
collection of child pornography (hereafter “‘collectors”):

a. Collectors may receive sexual stimulation and satisfaction from contact with
children, or from having fantasies of children engaged in sexual activity or
suggestive poses, or from literature describing such activity.

b. Collectors may collect sexually explicit or suggestive materials in a variety of
media, including photographs, magazines, motion pictures, videotapes, books,
slides and/or drawings or other visual media. Collectors typically use these
materials for their own sexual arousal and gratification. Collectors often have
companion collections of child erotica. Child erotica are materials or items that
are sexually suggestive and arousing to pedophiles, but which are not in and of
themselves obscene or pornographic. Such items may include photographs of
clothed children, drawings, sketches, fantasy writings, diaries, pedophilic
literature and sexual aids.

o Collectors who also actively seek to engage in sexual activity with children may
use these materials to lower the inhibitions of a child they are attempting to
seduce, convince the child of the normalcy of such conduct, sexually arouse their
selected child partner, or demonstrate how to perform the desired sexual acts.

d. Collectors almost always possess and maintain their “hard copies” of child
pornographic images and reference materials (e.g., mailing and address lists) in a
private and secure location. With the growth of the Internet and computers, a
large percentage of most collections today are in digital format. Typically these
materials are kept at the collector’s residence for easy access and viewing.
Collectors usually place high value on their materials because of the difficulty,
and legal and social danger, associated with acquiring them. As a result, it is not
uncommon for collectors to retain child pornography for long periods of time,
even for years. Collectors often discard child pornography images only while
“culling” their collections to improve their overall quality.

é, Collectors also may correspond with and/or meet others to share information and
materials. They may save correspondence from other child pornography
distributors/collectors, including contact information like email addresses, and
may conceal such correspondence as they do their sexually explicit material.
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Collectors prefer not to be without their child pornography for any prolonged time
period. This behavior has been documented by law enforcement officers involved
in the investigation of child pornography throughout the world.

Subscribers to websites that are primarily designed to provide child pornography
have a strong likelihood of being collectors of child pornography. This high
degree of correlation between subscription and collection behavior has been
repeatedly confirmed during several recent nationwide law enforcement
initiatives.

Use of Computers and the Internet with Child Pormmography

Computers and computer technology have revolutionized the way in which child
pornography is produced, distributed, and utilized. It has also revolutionized the way in
which child pornography collectors interact with each other, as well the methods that
individuals will use to interact with and sexually exploit children. Computers serve four
functions in connection with child pomography: production; communication; distribution
and storage.

Production: Pornographers can now produce both still and moving images
directly from a common video camera. The camera is attached, using a cable,
directly to the computer using a device called a video capture board. This device
turns the video output into a form that is usable by computer programs. The
output of the video camera can be stored, manipulated, transferred or printed
directly from the computer. The captured image can be edited (i.e., lightened,
darkened, cropped, digitally enhanced, etc.) with a variety of commonly available
graphics programs. The producers of child pornography can also use scanners to
convert hard-copy photographs into digital images.

Communication. Previously, child pornography collectors had to rely on
personal contact, U.S. mail, and telephonic communications in order to sell, trade,
or market pornography. Today most communications associated with the
trafficking of child pornography occur via the obscurity and relative anonymity of
the Internet. A device known as a modem allows any computer to connect to the
Internet via telephone lines or broadband Internet connections. Once connected to
the Internet, individuals search for and/or offer to distribute child pornography in
a wide variety of ways. Many individuals congregate in topic-based Internet chat
rooms implicitly or explicitly dedicated to child pomography. Online discussions
in these chat rooms are usually done via instant message (or “IM”’), and
individuals may then establish one-on-one chat sessions involving private
messages (or “PMs”), visible only to the two parties, to trade child pornography,
These child pornography images may be attachments to the PMs, or they may be
sent separately via electronic mail between the two parties. Pedophile websites
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communicate advertisements for the sale of child pornography, and individuals
may order child pornography from these websites using email or send order
information from their web browser (using HTTP computer language). Some
individuals communicate via Internet Relay Chat (IRC) to discuss and trade child
pornography images. It is not uncommon for child pornography collectors to
engage in mutual validation of their interest in such material through Internet-
based communications.

c. Distribution. Computers and the Internet are the preferred method to distribute
child pornography. As discussed above, such images may be distributed via
electronic mail (either as an attachment or embedded image), or through instant
messages as attachments. Child pornography is regularly downloaded from
servers or Usenet newsgroups via a method known as FTP (file transfer protocol).
Child pornography images are also distributed from websites via client computers
web browsers downloading such images via HTTP (Hyper Text Transfer
Protocol). Peer-to-peer networks such as LimeWire and Gnutella are an
increasingly popular method by which child pornography images are distributed
over the Internet.

d. Storage. The computer's capability to store images in digital form makes it an
ideal repository for pornography. A single floppy disk can store dozens of images
and hundreds of pages of text. The size of computer hard drives used in home
computers has grown tremendously within the last several years. Hard drives
with the capacity of two hundred (200) gigabytes are not uncommon. These
drives can store thousands of images at very high resolution. Remote storage of
these images on servers physically removed from a collector’s home computer
adds another dimension to the equation. It is possible to use a video camera to
capture an image, process that image in a computer with a video capture board,
and save that image to storage in another country. Once this is done, there is no
readily apparent evidence at the scene of the crime. Only with careful laboratory
examination of electronic storage devices is it possible to recreate the evidence
trail.

Seizure of Computers

As discussed below, the investigation has determined that the SUBJECT DEVICE, as
well as one or more computers and/or electronic storage devices located at the
SUBJECT PREMISES-1 and SUBJECT PREMISES-2 and on the person of LOWE,
are being used as an instrumentality in the course of, and in furtherance of, the
transmission, possession, receipt, and advertisement of child pornography. Moreover, it
is reasonable to believe that records and evidence are being stored in electronic form.
This includes computer hard-drives, cellular telephones and tablets, digital cameras,
disks, thumb drives, CDs and other similar electronic storage devices.
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An important step that is ordinarily part of an expert’s forensic examination of a
computer involves attempting to create an electronic “image” of those parts of the
computer that are likely to store the evidence, fruits, instrumentalities, or contraband
relating to the applicable offense. Generally speaking, imaging is the taking of a
complete electronic picture of the computer's data, including all hidden sectors and
deleted files.

Special software, methodology and equipment are used to obtain forensic images.

Among other things, forensic images normally are “hashed,” that is, subjected to a
mathematical algorithm to the granularity of 10°* power, which is an incredibly large
number that is much more accurate than the best DNA testing available today. The
resulting number, known as a “hash value” confirms that the forensic image is an exact
copy of the original and also serves to protect the integrity of the image in perpetuity.
Any change, no matter how small, to the forensic image will affect the hash value so that
the image can no longer be verified as a true copy.

Forensic Analysis

After obtaining a forensic image, the data will be analyzed. Analysis of the data
following the creation of the forensic image is a highly technical process that requires
specific expertise, equipment and software. There are literally thousands of different
hardware items and software programs that can be commercially purchased, installed and
custom-configured on a user’s computer system. Computers are easily customized by
their users. Even apparently identical computers in an office environment can be
significantly different with respect to configuration, including permissions and access
rights, passwords, data storage and security. It is not unusual for a computer forensic
examiner to have to obtain specialized hardware or software, and train with it, in order to
view and analyze imaged data.

Analyzing the contents of a computer, in addition to requiring special technical skills,
equipment and software also can be very tedious. It can take days to properly search a
single hard drive for specific data. Searching by keywords, for example, often yields
many thousands of “hits,” each of which must be reviewed in its context by the examiner
to determine whether the data is within the scope of the warrant. Merely finding a
relevant “hit” does not end the review process. The computer may have stored
information about the data at issue: who created it; when it was created; when it was last
accessed; when it was last modified; when was it last printed; and when it was deleted.
Operation of the computer by non-forensic technicians effectively destroys this and other
trace evidence.

Moreover, certain file formats do not lend themselves to keyword searches. Keywords

search for information in text format. Many common electronic mail, database and
spreadsheet applications do not store data as searchable text. The contents of Adobe

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“pdf” files are not searchable via keyword searches. The data is saved in a proprietary
non-text format. Microsoft Outlook data is an example of a commonly used email
program that stores data in a non-textual, proprietary manner—ordinary keyword searches
will not reach this data. Documents printed by the computer, even if the document never
was saved to the hard drive, are recoverable by forensic examiners, yet they are not
discoverable by keyword searches because the printed document is stored by the
computer as a graphic image and not as text. Similarly, faxes sent to the computer are
stored as graphic images and not as text.

Analyzing data on-site has become increasingly impossible as the volume of data stored
on a typical computer system has become mind-boggling. For example, a single
megabyte of storage space is the equivalent of 500 double-spaced pages of text. A single
gigabyte of storage space, or 1,000 megabytes, is the equivalent of 500,000 double-
spaced pages of text. Computer hard drives are now capable of storing more than 100
gigabytes of data and are commonplace in new desktop computers. And, this data may
be stored in a variety of formats or encrypted. The sheer volume of data also has
extended the time that it takes to analyze data in a laboratory. Running keyword searches
takes longer and results in more hits that must be individually examined for relevance.
Even perusing file structures can be laborious if the user is well-organized. Producing
only a directory listing of a home computer can result in thousands of pages of printed
material most of which likely will be of limited probative value.

Based on the foregoing, searching any computer or forensic image for the information
subject to seizure pursuant to this warrant may require a range of data analysis
techniques, and may take weeks or even months. Keywords need to be modified
continuously based upon the results obtained. Evidence in graphic file format must be
laboriously reviewed by examiners. Criminals can mislabel and hide files and
directories, use codes to avoid using keywords, encrypt files, deliberately misspell certain
words, delete files, and take other steps to defeat law enforcement.

Persistence of Digital Evidence

Computers store data, both on removable media (for example, CDs and floppy diskettes)
and internal media, in ways that are not completely known or controlled by most users.
Once stored, data is usually not destroyed until it is overwritten. For example, data that is
“deleted” by a user is usually not actually deleted until it is overwritten by machine
processes (rather than user decision) that decide where to store data and when
overwriting will occur. Therefore, files and fragments of files and other data may easily
last months, if not years, if the storage media is retained.

Typically, computer forensics focuses on at least three categories of data. These are: 1)
active data — such as current files on the computer, still visible in file directories and
available to the software applications loaded on the computer; 2) latent data — such as
deleted files and other data that resides on a computer’s hard drive and other electronic

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media in areas available for data storage, but which are usually inaccessible without the
use of specialized forensic tools and techniques; and 3) archival data— such as data
which has been transferred or backed up to other media such as CDs, floppy disks, tapes,
and ZIP disks.

Active data includes not only files created by and with the user’s knowledge, but also
may include items such as Internet history log files, system registry files (listing all the
systems and software applications installed on a computer, including the dates of
installation, use, and deletion), and date/time file stamps automatically created that
identify when files were created, modified, and last accessed.

Latent data includes data retained and stored on computer media in “unallocated” and
“slack” space. Unallocated space refers to space on a hard drive that is available for the
storage of new data. Slack space refers to any leftover space that remains when an active
file is stored in particular location on the hard drive that is akin to an empty shelf in a
closet containing other full shelves. Deleted files and other latent data that has not been
overwritten by new data or files often may be accessed by a qualified forensic examiner
from the unallocated and slack space on a computer user’s hard drive months and years
after such data was created by the user or the computer’s operating system.

I know, based upon my training and experience, that a qualified forensic examiner may
use knowledge of the mechanisms used to store electronic data to unlock and to uncover
the activities of a computer’s user years after the fact by examination of active, latent,
and archival data. Through the use of proper computer forensic techniques such data and
evidence of criminal offenses may be recovered, notwithstanding the passage of time
since a crime occurred.

Conclusion Regarding Forensic Analysis Procedures

In light of these difficulties, I request permission for investigators to remove to a
forensically-secure location computers, electronic storage devices, and computer-related
equipment as instrumentality(ies) of the crimes, and to use whatever data analysis
techniques reasonably appear necessary to locate and retrieve digital evidence within the
scope of this warrant. Such action will greatly diminish the intrusion of law enforcement
into the premises and will ensure that evidence can be searched for without the risk of
losing, destroying or missing the information/data for which there has been authorization
to search.

Therefore, it is respectfully requested that the warrant sought by this application
authorize the seizure and search of all “computer hardware,” “computer software” and
other computer-related documents and information found at the SUBJECT PREMISES-
1, at the SUBJECT PREMISES-2, on the person of LOWE, and on the SUBJECT
DEVICE, which are more fully set-out and explained herein and Attachments B-1

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through B-4, and further authorize a full physical and forensic examination of the seized
items at a secure location.

Craigslist

Craigslist is a classified advertisements website located at www.craigslist.org. It was
founded in 1995, and its headquarters is currently located in San Francisco, California.

Users can post advertisements to various sections of the Craigslist website, including
Jobs, Housing Personals, For Sale, Items Wanted, Services, Community, Gigs, Resumes,
and Discussion Forums. Craigslist serves more than 700 local sites in 70 countries, and
users are able to designate the geographic area to which they post their advertisements.
All Craigslist postings are free of charge except for certain designated sections, including
Job Postings in selected areas, Brokered Apartment Rentals in the New York City area,
Therapeutic Services in the United States, Tickets By-Dealer in the United States, and
Cars/Trucks By-Dealer in the United States.

Users of the Craigslist website can create a personalized account on the website or post
advertisements without an account. Users can post advertisements to one category in one
city no more than once every 48 hours. There are various life spans that determine how
long advertisements are posted before they expire, depending on the category type and
city. Advertisements can be renewed and re-posted after a 48-hour period, which moves
the advertisements up to the top of the list.

When submitting postings, users are requested to provide their email address. There are
three options for how users can receive responses:

a. Users can use an anonymized email system referred to as Craigslist 2-way email
relay. Emails are routed through a craiglist.org email address and relayed to the
users’ actual email address. This email system is designed to protect users from
spam and scams. When replying to a post, a user will see an email address such
as abede-0123456789@salae.craiglist.org. When answering an email, users will
see an email such as rec91a26d7534400a6a035 14c34f9200@reply.craivlist.org.
However, users still use their email program like they normally would to send and
receive messages.

b. Users’ email addresses can appear in the posting so that the actual email address
is displayed and responses are received directly to the email address.

ei Users can provide other contact information to be displayed in the body of the
post so that responses are received via a means other than email (such as by
telephone).

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The Personals section of the Craigslist website includes various sub-categories, including
Women Seeking Men, Women Seeking Women, Men Seeking Men, Men Seeking
Women, Misc. Romance, and Casual Encounters. Based on my training and experience,
I know that the Casual Encounters section is often used by individuals seeking others for
short-term sexual relationships with others.

Kik Messenger Application

Kik is a cross-platform instant messenger application available on smartphones. The
application allows users to exchange text-based conversations with one another and to
share media such as photos, YouTube videos, and other content.

The Kik messenger application is administered by Kik Interactive Inc., a company based
in Ontario, Canada. The application can be downloaded free of charge from the Internet.
It requires a smartphone with either a data plan or access to a Wi-Fi network to use.

Unlike many other smartphone instant messenger applications that are based on a user’s
telephone number, Kik uses usernames to identify its users. Each user selects and is
assigned a unique user name for use on Kik’s platform. Each user also creates a user
profile, which includes a first and last name and an email address. Kik Interactive Inc.
does not verify this information, and as such, users can provide inaccurate information.

Kik Interactive Inc. maintains users’ profile information and collects IP addresses utilized
by users to access the account and transmit messages. In some circumstances, Kik
Interactive Inc. also collects users’ dates of birth as well as other information about how
users have used the messenger application. Kik Interactive Inc. will only release current
information to law enforcement pursuant to service of proper legal service (typically
profile information and IP addresses for the past thirty days, or the most recent thirty days
if the account has not been recently used). Kik Interactive Inc. does not store or maintain
chat message content.

Based on my training and experience, I know that individuals involved in child
pornography offenses often utilize the Kik messenger application to trade child
pornography files and to communicate with other offenders and victims. In my
experience, a number of child pornography offenders believe that the Kik messenger
application is a secure means of trading child pornography.

Common Abbreviations

Based on my training and experience, I know that individuals frequently use
abbreviations or acronyms on the Craigslist website and when communicating with each

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other on messenger applications such as Kik. Some of these abbreviations or acronyms
include the following (as seen later in the Affidavit):

a. M4MW -— Term for a male seeking another male along with a woman
b. Gf — Girlfriend
on Yr or Y — Year
d. Cl — Craigslist
& PTHC — Pre-teen hard core
i Pics — Pictures
g. Vids — Videos
FACTS SUPPORTING PROBABLE CAUSE

In January 2018, agents of the Commonwealth of Kentucky Office of the Attorney
General, Department of Criminal Investigations, conducted an online investigation to
identify individuals who were utilizing the Craigslist website to commit child
exploitation offenses. On or around J anuary 29, 2018, an undercover officer who will be
referred to for purposes of this Affidavit as “UCO-1” observed an advertisement posted
in the Casual Encounters section of the Crai gslist website for the geographic location of
Dayton, Ohio. The advertisement had a title of “Kinky Taboo No Limits —m4mw’”. The
body of the advertisement stated the following: “Looking for open minded taboo no limit
kinky fun. Kik me at rabbithole45373 or email here and tell me what you like. open to
anything”’,

Based on UCO-1’s training and experience, he knows that the terms “taboo” and “no
limits” are often used by persons seeking sexual acts over the Internet. UCO-1 also
knows that individuals sometimes use these terms to solicit illegal sexual activities,
including sexual activities involving minors.

On or around January 29, 2018, UCO-1 responded to the above noted Craigslist
advertisement by sending a message to the rabbithole45373 Kik account. UCO-1 posed
as an adult male who lived in Kentucky and had an 1 1-year old female child in his
custody. UCO-1 and the rabbithole45373 account user exchanged messages during the
approximate time period of January 29, 2018 to February 20, 2018. Below isa summary
of these communications:

a. The rabbithole45373 account user quickly asked how old UCO-1’s daughter was

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and asked if UCO-1 “played” with her. When UCO-1 identified that his
purported daughter was 11 years old and that he played with her, the
rabbithole45373 account user responded “Hot she still go her cherry?”.

i. Based on my training and experience, I know that individuals involved in
child exploitation activities often use the term “play” to refer to engaging
in sexual activities with minors.

b. The rabbithole45373 account user asked for pictures of UCO-1’s child. UCO-1
responded by sending a profile picture of a purported minor female child. The
rabbithole45373 account user responded by stating “Cute any revealing ones”.
The rabbithole45373 account user later asked UCO-1: “U got any x pics of your
lil one”.

i. Based on my training and experience, I know that individuals often utilize

terms such as “revealing”, ‘‘x”, and “x-rated” when requesting nude or
sexually explicit pictures from others.

¢, The rabbithole45373 account user talked about engaging in sexual activities with
his nieces and nephews. The rabbithole45373 account user stated that he engaged
in sexual activities with one of his nieces and one of his nephews when they were
ten years old, one of his nieces when she was six months old, one of his nieces
when she was one year old, and one of his nephews during the time that he was 11
to 16 years old. The rabbithole45373 account user talked about the possibility of
purchasing a drug dealer’s six-year old child and engaging in sexual activities
with this child. The rabbithole45373 account user also talked about his desires to
engage in sexual activities with an infant. Below are excerpts of these
communications:

January 30, 2018:
Rabbithole45373: J told my sisters kids they had to stay naked when i

caught them they could tell i was playing so they
said i had to get that way soi did. I told em to keep
playing and i wanted to play truth or dare
Rabbithole45373: After a while making them play i dared they both
suck me then dared him to put it in her which he
couldnt so i showed em how and busted her hymen

January 30, 2018:
Rabbithole45373: .... 1 have a crackhead that would sell me her

daughter for a bit but scared
Rabbithole45373: Shes 6

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UCO-1:
Rabbithole45373:

January 31, 2018:
Rabbithole45373:

UCO-1:
Rabbithole45373:
UCO-1:
Rabbithole45373:
UCO-1:
Rabbithole45373:
Rabbithole45373:
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February 14, 2018:
Rabbithole45373:

Rabbithole45373:

Rabbithole45373:

UCO-1:

Rabbithole45373:
UCO-1:

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Yea I would take money but it got to be cash
Cool and i know her daughter has been fucked
which i want a virgin

Cool u think u could get in a baby
Doubt it

Be hot to try

Would you

Yes

My gf wants another kid

i would pound and thrust so hard in a new born
Do it

You ever done it

u probably don’t like fuckin her tho huh
No licked one

How old

u?

6mos

Her girl the only one I had

You don’t have her now?

I wanna penetrate a baby bad

No shes 4 now

How often u fuck the girl

Where did she go

Probably at least 2 or 3 nights a month
My sisters baby.

If i didn’t think id tear the shit outta her id try my
one yr old neice and no but want to

I did put the tip of my dick in her mouth few
months back

Nice wish u were closer id take a chance and rape
my niece with ya

How were you gonna rape your niece if she don’t
go with you

I babysit her but no driving shit sucks

Yea

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UCO-1: That all you done with her

Rabbithole45373: Yea

Rabbithole45373: I wanna split her open tho

Rabbithole45373: I get transfixed on her pussy when shes bein
changed

Rabbithole45373: I wanna so lay on top a baby and force my way in

February 20, 2018:
Rabbithole45373: Nice im talking to a girl no that had a baby last

week and a 8 yr

UCO-1: What she ok with?
Rabbithole45373: Everything she wants a incest pedo family
UCO-1: Damn where you find her

Rabbithole45373: On here she replied to my cl ad

d. The rabbithole45373 account user talked about videos he had in his possession
depicting children. The rabbithole45373 account user indicated that he
downloaded at least some of these files from the Internet. He also indicated that
he used the terms “pthc” and “preteen hardcore” as search terms when seeking the
files from the Internet. The rabbithole45373 account user offered to provide some
of the suspected child pornography files to UCO-1 if they ever met.

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Based on my training and experience, I believe that the descriptions
provided by the rabbithole45373 account user regarding the files he had in
his position depicting children are consistent with child pornography.

Based on my training and experience, I know that “pthe” and “preteen
hard core” are common terms that individuals utilize when searching for
child pornography.

Below are excerpts of some of the communications between the
rabbithole45373 account user and UCO-1 regarding the suspected child
pornography files:

January 30, 2018:

Rabbithole45373: ... yes ive got hot vids where infants are taking
cock

UCO-1: Nice

UCO-1: Where you get it

Rabbithole45373: Downloaded on dark web and old limewire i got a 2
yr old bein penetrated hard like 4 inches of a guys
dick

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UCO-1:
UCO-1;
Rabbithole45373:

UCO-1:
UCO-1:
Rabbithole45373:

UCO-1:

January 31, 2018:
Rabbithole45373:

UCO-1:
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January 31, 2018:
UCO-1:

Rabbithole45373:
UCO-1:
Rabbithole45373:

UCO-1:
UCO-1:
Rabbithole45373:

February 20, 2018:
UCO-1:

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How I get that

Would trade off this girl

On a laptop u download a dark web browser the
using it do a search for like pthe preteen hardcore
and thatll start ya off

My computer belongs to my job

Can’t find on there

Damn wish i were closer id record ya some to disk
only youd have access to

Yea

Whats up

Working

U?

Whatchin porn
Anything good
Young

Homemade?

No i wish

What’s your favorite
Infant

Yea I seen pics mostly
Hard to get

I cherish mine

[ been thinking about that disk you said you can
make

Yea

You still want to

[ could upload to google cloud and let u see u got
any for me

Nothing like what we talked about

Do I have to download or can I put on my phone
On phone got a g rated pic of your girl?

What kind of videos do you got?

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Rabbithole45373: Young 2 y and up u

UCO-1: A few older ones

Rabbithole45373: Is in filmed long time ago or older stars

UCO-1: Older girls

Rabbithole45373: Oh blahhhhh i like newborn to tenish

UCO-1: Same

UCO-1: Can’t download anything on my work computer
though

Rabbithole45373: Yea maybe talk some more and once comfy i may

show ya some things

é. The rabbithole45373 account user did not communicate with UCO-1 during the
approximate time period of February 1, 2018 to February 13, 2018. On or around
February 14, 2018, the rabbithole45373 account user sent a message to UCO-1
stating that he had broken his phone and recently obtained a new one.

f. During the course of the communications, the rabbithole45373 account user
identified that he was 40 years old and resided in Dayton, Ohio. The
rabbithole45373 account user stated that he was unable to drive because of a DUI
(Driving Under the Influence) conviction.

Based on my training and experience, I believe that the statements made by the
rabbithole45373 account user regarding the video files in his possession (as detailed
above) are indicative of someone who possesses a collection of child pornography. His
statements regarding the use of the search terms “pthc” and “preteen hard core”, as well
as his use of Limewire (a Peer-to-Peer file sharing program) and the “dark web”, are
consistent with someone who utilizes the Internet to obtain child pornography. I also
believe that in requesting to receive “revealing” or “x” pictures of UCO-1’s purported 11-
year old daughter, the rabbithole45373 account user was attempting to receive child
pomography. Furthermore, based on his offer to provide video files to UCO-1 ona disk
if they ever met, I believe that the rabbithole45373 account user was attempting to
distribute child pornography.

During the course of the investigation, two administrative subpoenas were served to Kik
Interactive Inc. requesting subscriber information for the rabbithole45373 account, as
well as logs of IP addresses utilized to access the account and transmit messages. The
subpoenas were served to Kik Interactive Inc. on or around February 1, 2018 and
February 26, 2018. Records received from Kik Interactive Inc. in response to the
subpoenas provided the following information:

a. The rabbithole45373 account was created on or around November 17, 2017. The

profile name for the account was “Chad Thomas”, and the email address
mgage45373@gmail.com was associated with the account profile.

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b. The account was last accessed on or around February 21, 2018. Most of the IP
addresses utilized to access the account were serviced by the T-Mobile network.
This activity is consistent with someone whose cellular telephone provider is T-
Mobile and who uses the data plan from his/her cellular telephone to access the
Internet.

c. A Metro PCS Model LGMP260 android device was used to access the account on
or around December 4, 2017.

On or around January 31, 2018, an administrative subpoena was served to Craigslist
requesting information related to the advertisement to which UCO-1 responded. On or
around February 15, 2018, Craigslist provided information in response to the subpoena.
These records identified that the poster of the advertisement utilized the email address
carlwlowe937@gmail.com and the telephone number 937-540-5671 (the number for the
SUBJECT DEVICE).

T-Mobile was identified as the service provider for telephone number 937-540-5671. On
or around February 23, 2018, an administrative subpoena was served to T-Mobile
requesting subscriber information for this account. T-Mobile provided records in
response to the subpoena on or around February 27, 2018. These records identified that
during the approximate time period of July 12, 2017 to the present, the telephone was
subscribed to LOWE. The service and billing addresses were initially listed as 329 Ernst
Avenue in Dayton, Ohio. On or around January 5, 2018, the billing and service addresses
were changed to 4317 Bayberry Cove in Bellbrook, Ohio.

On or around March 20, 2018, T-Mobile was served with an additional administrative
subpoena requesting subscriber information for telephone number 937-540-5671 and
information regarding the device that utilized this telephone number. T-Mobile provided
records in response to the subpoena on or around March 21, 2018. These records
identified that the telephone number continued to be subscribed to by LOWE, with the
billing and service address in Bellbrook, Ohio. The records also identified that effective
on or around March 5, 2018, telephone number 937-540-5671 was utilized by an LG K20
Plus cellular telephone bearing International Mobile Subscriber Identity (IMSI)
310260332660411 and device number 352130097307309,

a. Based on Internet research, I have determined that a Metro PCS Model LGMP260
android device (the android device utilized to access the rabbithole45373 Kik
account) is a LG K20 Plus cellular telephone.

On or around February 19, 2018, Google Inc. was served with a search warrant
requesting information associated with the Google accounts carlwlowe93 7@gmail.com
(the account associated with the Craigslist advertisement to which UCO-1 responded)
and mgage45373@gmail.com (the account associated with the rabbithole45373 Kik
account). Google Inc. provided records in response to the search warrant on or around
March 21, 2018. These records included subscriber information and the contents of the

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two email accounts. Review of the records for the carlwlowe93 7(@gmail.com email
account provided the following information:

a.

The account was created on or around February 19, 2016, using the name “carl |”.
The account was logged into as recently as February 7, 2018.

At least approximately twelve of the email messages received by the
carlwlowe937@gmail.com account were addressed to CARL LOWE.

Approximately four of the email messages received by the
carlwlowe937@gmail.com account contained receipts from the Uber taxi service
application. Two of the receipts indicated that the account user was picked up or
dropped off at 3819 East Third Street in Dayton, Ohio, and the other two receipts
indicated that the account user was picked up or dropped off at 3822 East Third
Street in Dayton, Ohio.

i. I have determined that both of these addresses are less than 20 feet away
from the SUBJECT PREMISES-1.

In approximately five of the email messages, the carlwlowe937@gmail.com
account user appeared to be communicating with other individuals regarding
advertisements on the Craigslist website.

On or around February 5, 2018, a message was received from the
carlwlowe937@gmail.com account from the Google website. This email message
notified the carlwlowe937@gmail.com account user that a new device had been
utilized to access the email account — that being a ZTE Majesty Pro LTE cellular
telephone.

Approximately eight messages were received by the carlwlowe937@gmail.com
account from email addresses associated with Frontier Communications. Some of
these messages indicated that the carlwlowe937/@gmail.com account user had
created an Internet account with Frontier Communications in late January 2018.

Approximately one email message was received by the
carlwlowe937(@gmail.com account from an email address associated with QLink
Wireless. This email message indicated that the carlwlowe937@gmail.com
account user had a telephone account with QLink Wireless.

Review of the records provided by Google for the mgage45373@gmail.com email

account provided the following information:

a.

The account was created on or around June 2, 2017, using the name “ejrkw
ddiddrruduGage”. The account was logged into as recently as February 17, 2018.

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b. In approximately eight of the email messages, the mgage45373(@gmail.com

account user appeared to be communicating with other individuals regarding
advertisements on the Craigslist website. In some of these messages, the
mgage45373@gmail.com account user appeared to make comments about an
interest in juveniles. For example, on or around December 18, 2017, the
mgage45373@gmail.com account user sent an email to another individual stating
the following: “You like young too?” Also for example, on or around December
14, 2017, the mgage45373@gmail.com account user sent an email to another
individual stating the following: “Whats up what taboo you like most. Incest and
young here”,

C. In approximately two of the sent email messages, the mgage45373(@gmail.com
account user requested that the recipient of the messages contact him via Kik
Messenger at the rabbithole45373 account.

d. On or around February 1, 2018, the mgage45373/@gmail.com account user
received a message that provided a notification regarding the shipment of a ZTE
Z798BL GSM Handset SIM 5 device. The notification stated that the device was
being shipped to Mary Lowe at the SUBJECT PREMISES-2.

is Based on Internet research I have determined that a ZTE Z798BL device
is a ZTE Majesty Pro cellular telephone. As noted above, the records
from Google indicated that this same make and model of cellular
telephone was utilized to access the carlwlowe937@gmail.com account.

il. As further detailed below, the investigation has determined that Mary
Lowe is LOWE’s sister.

Based on the email messages that the carlwlowe937/@gmail.com account received from
Frontier Communications (as detailed above), an administrative subpoena was served to
Frontier Communications on or around March 27, 2018 requesting information related to
any Internet accounts in LOWE’s name and/or associated with the email address
carlwlowe937@gmail.com. Records received from Frontier Communications in
response to the subpoena identified that there is currently an Internet account in LOWE’s
name at the SUBJECT PREMISES-2 (the same address where the ZTE Majesty Pro
telephone was shipped, as detailed above). The records identified that the Internet
account was activated on or around January 26, 2018.

Based on my training and experience, I know that individuals often utilize variations of
their first, middle, and last names in their email addresses. Based on the use of the email
address of carlwlowe937@gmail.com and the subscriber name of CARL LOWE
identified in T-Mobile’s records, I conducted a search of public records and law
enforcement databases for individuals with the name of CARL W. LOWE who reside in
Montgomery County, Ohio. I identified that there is a CARL WAYNE LOWE who is

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currently required to register as a sex offender and who lists the SUBJECT PREMISES-
1 on his current sex offender registration paperwork. LOWE is presently 42 years old.

a. As detailed above, the rabbithole45373 account user identified that he was 40
years old. Based on my training and experience, I know that individuals involved
in child exploitation offenses often do not provide completely accurate
information regarding their identities when communicating with others in order to
avoid possible detection by law enforcement officers.

Based on review of records from the Montgomery County, Ohio Court of Common Pleas,
I have determined that LOWE was convicted in January 2016 of one count of Pandering
Sex Oriented Material Involving a Minor, in violation of Ohio Revised Code (O.R.C.)
Section 2907.322, one count of Pandering Obscenity Involving a Minor, in violation of
O.R.C. Section 2907.321, and one count of Possession of Criminal Tools, in violation of
O.R.C, 2923.24. The conviction relates to child pornography files that were recovered
from computers seized from LOWE?’s residence in February 2014. LOWE was
sentenced to five years of probation. As a result of this conviction, LOWE was required
to register as a Tier II sex offender (which requires registration for a period of 25 years).

As part of the investigation, I have contacted LOWE’s current Probation Officer. The
Probation Officer provided the following information:

a. LOWE has reported to the Probation Officer that he resides alone at the
SUBJECT PREMISES-1.

b. The conditions of LOWE?’s probation prohibit him from possessing computers
and cellular telephones that have access to the Internet. LOWE has reported to
the Probation Officer that he does not have any such devices and does not have a
cellular telephone.

c. As part of supervising LOWE, the Probation Officer has gathered information
regarding LOWE’s family members. The Probation Officer identified that
LOWE two sisters, one of whom is Mary Lowe. LOWE has reported to the
Probation Officer that Mary Lowe has seven children.

i. As part of the investigation, I have determined the approximate ages of
these children. The approximate ages of some of the children are
consistent with the approximate ages of the nieces and nephews that the
rabbithole45373 identified in his communications with UCO-1.

il. Records from the Ohio Bureau of Motor Vehicles identified that Mary

Lowe utilizes the SUBJECT PREMISES-2 on her current Ohio driver’s
license and on the registration information for two motor vehicles.

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d. As part of the terms of LOWE’s probation, the Probation Officer is permitted to
search LOWE’s residence. The Probation Officer noted that there were a number
of previous occasions in which she attempted to search the SUBJECT
PREMISES-1, but LOWE did not answer the door. The Probation Officer
suspected that LOWE was inside the residence on one or more of these
occasions.

é. On or around March 15, 2018, the Probation Officers contacted LOWE outside of
the SUBJECT PREMISES-1 while he was talking to one or more other
individuals who were sitting in a vehicle. The Probation Officer requested to
search the SUBJECT PREMISES-1 at that time, and LOWE provided her with
access to the residence. The Probation Officer did not locate any cellular
telephones or computer devices during her search.

Based on my training and experience, I know that individuals who are involved in child
exploitation offenses and who are prohibited by conditions of probation or parole from
possessing computer devices often still possess and utilize such devices. I also know,
based on my training and experience, that these individuals often undertake great efforts
to conceal these devices from their probation or parole officers. Individuals often find
hiding places in their residences to conceal the devices. It is also common for individuals
to conceal the devices on their persons (such as in their orifices), to pass the devices off
to others when approached by probation or parole officers (such as the individuals in the
vehicle to whom LOWE was talking when approached by his Probation Officer), or to
store the devices at the residences of family members or friends when they are not being
used,

Also based on my training and experience, I know that individuals who utilize cellular
telephones and electronic accounts in furtherance of illegal activities and/or who are
prohibited from possessing cellular telephones often utilize fictitious names and/or billing
addresses when establishing their accounts. Individuals utilize fictitious identifying
information to avoid possible detection by law enforcement officers.

As part of the investigation, I have obtained and reviewed a report from the Dayton
Police Department regarding an incident at the SUBJECT PREMISES-1 on or around
December 22, 2017. According to the report, officers of the Dayton Police Department
responded to the SUBJECT PREMISES-1 after LOWE reported that his friend had
suffered from a possible drug overdose. When officers arrived, they communicated with
LOWE regarding the incident. LOWE confirmed that he resided at the SUBJECT
PREMISES-1, and that the friend who suffered from the possible overdose was visiting
him. According to the report, officers documented that LOWE’s telephone number was
937-540-5671.

On or around April 9, 2018, a search warrant was authorized by the United States District
Court for the Southern District of Ohio for the cellular telephone assigned call number
937-540-5671 (the SUBJECT DEVICE). This search warrant authorized the release of

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location information (i.e., cell site, cell sector, and GPS information) for the SUBJECT
DEVICE by T-Mobile for a period of 30 days. Pursuant to the search warrant, T-Mobile
began providing the requested location information for the SUBJECT DEVICE to the
FBI during the early evening hours of April 10, 2018. T-Mobile has provided the
approximate location (expressed in the latitude, longitude, and a measurement of
uncertainty) of the SUBJECT DEVICE every approximately 15 minutes. The location
information provided by T-Mobile during the time period of the evening of April 10,
2018 through the morning of April 12, 2018 provided the following information:

a. During the overnight hours of April 10, 2018 and April 11, 2018, the SUBJECT
DEVICE was consistently in the area of the SUBJECT PREMISES-1.

b. During the daytime hours of April 11, 2018, the SUBJECT DEVICE was in the
area of the SUBJECT PREMISES-1 on a number of occasions. The cellular
telephone also traveled to other locations throughout the day.

Cc. The SUBJECT DEVICE was located in the Souther District of Ohio at all
times.

Based on all of the information noted in the Affidavit, I submit that there is probable
cause to believe that LOWE is the user of the rabbithole45373 Kik account, the
carlwlowe937(@gmail.com email account, and the mgage45373@gmail.com email
account. | also submit that there is probable cause to believe that he has utilized these
and possibly other accounts to communicate with others about child exploitation
offenses, to view and/or possess child pornography, to receive and/or attempt to receive
child pornography, and to attempt to distribute child pornography.

Furthermore, I submit that there is probable cause to believe that LOWE has recently
utilized at least two cellular telephones — that being the SUBJECT DEVICE and the
ZTE Majesty Pro cellular telephone that was shipped to the SUBJECT PREMISES-2 —
to communicate with others regarding child exploitation and child pornography offenses.
Based on LOWE’s statements to UCO-1 about burning child pornography files to a disk,
it is reasonable to believe that he possesses and/or has access to at least one desktop
computer or laptop.

Based on my training and experience, I know that individuals typically maintain their
cellular telephones on their persons and in their residences. In my experience, it is not
uncommon for individuals to maintain their previously used cellular telephones after
purchasing new ones in case they need data (such as contact telephone numbers) from the
previous telephones. Although the Probation Officer did not locate any cellular
telephones or computer devices when searching the SUBJECT PREMISES-1 on or
around March 15, 2018, I submit that it is reasonable to believe that such devices were in
fact concealed inside the residence, on LOWE’s person, or in his associate’s vehicle. In
fact, recent location data for SUBJECT DEVICE shows it has consistently been in the

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vicinity of SUBJECT PREMISES-1 over the approximately past two days.

Based on the email messages recovered from the two Google accounts and the records
from Frontier Communications (as detailed above), it appears that LOWE established an
Internet account at the SUBJECT PREMISES-2 and shipped a ZTE Majesty Pro
cellular telephone to this residence. In his Kik communications with UCO-1, LOWE
identified that he engaged in sexual activities with his nieces and nephews and that he
baby-sat one of his nieces. Based on this and other information noted in the Affidavit, it
is reasonable to believe that LOWE periodically spends time at the SUBJECT
PREMISES-2, utilizes computer devices at the SUBJECT PREMISES-2, and
potentially stores computer devices at the SUBJECT PREMISES-2.

Based on all of the information noted in the Affidavit, there is probable cause to believe
that the SUBJECT DEVICE and one or more computer devices are currently located at
the SUBJECT PREMISES-1, at the SUBJECT PREMISES-2, and/or on LOWE’s
person, and that these devices contain evidence of LOWE’s child exploitation and child
pornography offenses. There is also probable cause to believe that various documents
and records related to LOWE’s computer devices and child exploitation activities are
located at the SUBJECT PREMISES-1, at the SUBJECT PREMISES-2, and/or on
LOWE’s person.

Based on my training and experience, I know that it is not uncommon for individuals
involved in child pornography offenses to utilize multiple computer devices to possess,
receive, and advertise child pornography and to discuss the sexual exploitation of
children. Individuals sometimes save their files to multiple devices to allow easy access
to the files and/or to back-up the devices in case of a computer failure.

Again based on my training and experience, I know that collectors of child pornography
often use external devices (such as thumb drives, external hard drives, CD’s/DVD’s, SD
cards, SIM cards, etc.) to store child pornography. The accumulation of child
pornography files may fill up the space on the hard drives of computers, and external
devices are needed to store and maintain files. These devices also serve as a mechanism
for transferring files from one computer to another. In my experience, individuals
maintain such external devices in their residences. Given their portable size, individuals
sometimes maintain the devices on their persons.

Based on my training and experience, I know that individuals are increasingly utilizing
laptop computers and other smaller devices such as cellular telephones, iPads, and tablets
to do their computing. These devices are typically maintained in the owners’ residences.
Due to their portable nature, individuals also sometimes maintain the devices on their
persons.

Based on my training and experience, I know that collectors of child pornography often
maintain their collections for long periods of time. In addition, computer evidence

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typically persists for long periods of time, and computer data can often be recovered from
deleted space (as further detailed above).

Based on my training and experience, individuals involved in child exploitation schemes
often utilize social media accounts, email addresses, messenger applications, and dating
websites as a means to locate and recruit victims. They then use the chat functions on
these websites, as well as email accounts and other messenger applications, to
communicate with their victims. Such communications provide a means of anonymity to
protect the subjects’ identities and to conceal the communications from the victims’
parents.

Also based on my training and experience, I know that individuals involved in child
exploitation offenses utilize a variety of threats and manipulation techniques to compel
their victims to engage or continue engaging in the illicit sexual activities (including the
production of child pornography). These threats and manipulations are intended to
control the victims and their activities, prevent them from stopping the activities, and
prevent them from contacting law enforcement officers. It is common for such offenders
to threaten that if the victims end the illicit sexual activities, the offenders will harm the
victims and their family members and / or bring notoriety and shame to the victims by
exposing the victims’ involvement in the sexually explicit conduct.

In my experience, individuals involved in child exploitation schemes often communicate
with others involved in similar offenses via e-mail, social media, and other online chat
rooms. I have seen examples of cases where such individuals have communicated with
other child predators about their sexual fantasies and prior sexual activities with
juveniles. I have also seen cases where such individuals have communicated with others
about their remorse and regret for their activities. Both types of communications provide
material evidence in child exploitation cases in that they provide admissions of guilt.

In my experience, individuals often attempt to obtain child pornography from a variety of
sources, including from those with whom they communicate via email, social media sites,
Internet chat programs, and on Internet bulletin boards; Internet P2P file sharing
programs; Internet websites; and other sources. Evidence of multiple aliases, accounts,
and sources of child pornography can often be found in the subjects’ email
communications. Evidence of the multiple aliases, accounts, and sources of child
pornography are often found on the computer devices located at the offenders’
residences, in their vehicles, and on their persons.

I know, in my experience, that individuals involved in child exploitation offenses
sometimes print the pictures in hard copy format. Such individuals do so both for easier
access / viewing of the files and to back-up the files in the event that one computer device
becomes damaged and broken. Similarly, these individuals often save contact
information (1.e., email addresses and account names) for those with whom they
communicate about child exploitation offenses in multiple locations.

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In addition, individuals often maintain lists of their electronic accounts (including
associated user names and passwords) and their aliases in handwritten format. These
papers are sometimes maintained in close proximity to their computers for easy access.
In other cases, the papers may be hidden or maintained in secure locations to avoid
detection by others.

In my experience, I know that many cellular telephones, iPads, and tablets store
information related to IP addresses and Wi-Fi accounts that the telephone accessed and
GPS data. This information helps in identifying the subjects’ whereabouts during the
criminal activities and the travels they took to get to these locations.

Based on my training and experience, I know that providers of cellular telephone service
(such as T-Mobile) and Internet Service Providers (such as Frontier Communications)
often send their customers monthly billing statements and other records. These
statements and records are sometimes mailed to the customers’ billing addresses and
other times are emailed to the customers’ email accounts. Individuals often maintain
these documents in their residences and/or on their computers. These documents can be
materially relevant to investigations of child exploitation offenses in that they provide
evidence of the Internet and cellular telephone accounts utilized in furtherance of the
crimes.

Also based on my training and experience, I know that individuals often maintain the
boxes, shipping documents, instruction manuals, and paraphernalia for the computer
devices that they purchase. These items are maintained for a variety of reasons, including
for reference for device instructions, for possible warranty information, and in the event
that the devices need to be returned. These items can be materially relevant to

investigations of child exploitation offenses in that they provide evidence of the computer
devices utilized in furtherance of the crimes.

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CONCLUSION

Based on the aforementioned factual information, I respectfully submit that there is
probable cause to believe that evidence, fruits, and instrumentalities of such criminal
offenses may be located at the SUBJECT PREMISES-1, on the person of LOWE, at
the SUBJECT PREMISES-2, on the SUBJECT DEVICE, and on the computers
located at the SUBJECT PREMISES-1 and SUBJECT PREMSISES-2 and on the
person of LOWE, in violation of 18 U.S.C. §§2252(a)(4)(B) and (b)(1), 2252A(a)(5)(B)
and (b)(1), 2252(a)(2)(B) and (b)(1), and 2252A(a)(2) and (b)(1).

I, therefore, respectfully request that the attached warrants be issued authorizing the
search and seizure of the items listed in Attachments B-1 through B-4.

Ch raciaun Vem

Special Agent Andrea RKinzig
Federal Bureau of Investigation

SUBSCRIBED and SWORN
before me this 12th of April, 2018

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HONORABLE WALTER H. RICE
UNITED STATES DISTRICT COURT JUDGE

 

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